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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                     Civil Division

DANIEL J. SMITH, III,                       :
                                            :
                Plaintiff,                  :
v.                                          :      Case No. 1:16-cv-2242 (CJN)
                                            :
HOLLAND, LP,                                :
                                            :
                Defendant                   :


                             JOINT PRETRIAL STATUS REPORT


       Pursuant to the Court’s February 13, 2020, Initial Pretrial Order, the parties submit the

following Joint Pretrial Status Report.

     1. TRIAL TIME


                                   PLAINTIFF WITNESSES

Witness                                         Time
Daniel Smith                                    Total: 2 hours and 45 minutes
                                                (Direct: 2 hours, Cross: 45 minutes)
Lyle Rardon                                     Total: 1 hour
                                                (Direct: 30 minutes, Cross: 30 minutes)
Chris Hamlin                                    Total: 50 minutes
                                                (Direct: 30 minutes, Cross: 20 minutes)
Jamaal Haggie                                   Total: 50 minutes
                                                (Direct: 30 minutes, Cross: 20 minutes)
Justin McFerrin                                 Objection to use of videotaped deposition, as
                                                the witness is not unavailable
                                                Total: 1 hour
                                                (Direct: 30 minutes, Cross: 30 minutes)
William Davis                                   Total: 50 minutes
                                                (Direct: 30 minutes, Cross: 20 minutes)
Ed Muncie                                       Objection to use of videotaped deposition, as
                                                the witness is not unavailable
                                                Total:1 hour and 30 minutes
                                                (Direct: 1 hour, Cross: 30 minutes)
Andrew Off                                      Total: 50 minutes
                                                (Direct: 30 minutes, Cross: 20 minutes)
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John Smith                                     Total: 30 minutes
                                               (Direct: 20 minutes, Cross: 10 minutes)
Alex Jackson                                   Total:30 minutes
                                               (Direct: 20 minutes, Cross: 10 minutes)
Lavina Ballard                                 Total:30 minutes
                                               (Direct: 20 minutes, Cross: 10 minutes)
James Thomas                                   Total:30 minutes
                                               (Direct: 20 minutes, Cross: 10 minutes)
Michael Ballard                                Total:30 minutes
                                               (Direct: 20 minutes, Cross: 10 minutes)
Kitty Green                                    Total:30 minutes
                                               (Direct: 20 minutes, Cross: 10 minutes)
Michael Schulz *                               Total: 2 hours and 15 minutes
                                               (Direct: 90 minutes, Cross: 45 minutes)
Gregory Paulsen *                              Total: 2 hours
                                               (Direct: 1 hour, Cross: 1 hour)
Joel D. Fechter*                               De Bene Esse Videotaped Deposition for Trial
                                               Total: 1 hour and 20 minutes
Dr. Alec Lebedun*                              Pending: Holland, LP’s Motion to Strike
                                               Total: 1 hour and 40 minutes
                                               (Direct: 1 hour, Cross: 40 minutes)
Dr. Thomas Borzilleri*                         Pending: Holland, LP’s Motion to Strike
                                               De Bene Esse Videotaped Deposition for Trial
                                               Total: 57 minutes
Mark Dennis *                                  Pending: Holland, LP’s Motion to Strike
                                               Total: 2 hours
                                               (Direct: 90 minutes, Cross: 30 minutes)
                                DEFENSE WITNESSES

Witness                                 Time
Justin McFerrin                         Total: 1 hour and 30 minutes
                                        (Direct: 1 hour, Cross: 30 minutes)
Ed Muncie                               Total:1 hour and 30 minutes
                                        (Direct: 1 hour, Cross: 30 minutes)
Christopher Cunningham                  Total: 50 minutes
                                        (Direct: 20 minutes, Cross: 30 minutes)
Jamaal Haggie                           If necessary, based on Plaintiff’s Case in Chief
                                        Total: 1 hour and 30 minutes
                                        (Direct: 1 hour, Cross: 30 minutes)
Chris Hamlin                            If necessary, based on Plaintiff’s Case in Chief
                                        Total: 1 hour and 30 minutes
                                        (Direct: 1 hour, Cross: 30 minutes)
WMATA Corporate Representative (Michael If necessary, based on Plaintiff’s Case in Chief
John Thomas)                            Total: 45 minutes
                                        (Direct: 30 minutes, Cross: 15 minutes)

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Daniel J. Smith, III                                 If necessary, based on Plaintiff’s Case in Chief
                                                     Total: 45 minutes
                                                     (Direct: 30 minutes, Cross: 15 minutes)
Ronald Adler*                                        Total:1 hour and 30 minutes
                                                     (Direct: 1 hour, Cross: 30 minutes)
Andrew Nieto*                                        Total: 1 hour and 30 minutes
                                                     (Direct: 1 hour, Cross: 30 minutes)
Kathleen Sampeck*                                    Total: 1 hour and 15 minutes
                                                     (Direct: 45 minutes, Cross: 30 minutes)
Dr. Nicole Johnson*                                  Total:1 hour and 15 minutes
                                                     (Direct: 45 minutes, Cross: 30 minutes)
Dr. Richard Conant*                                  Total: 1 hour
                                                     (Direct: 30 minutes, Cross:30 minutes)


   2. SETTLEMENT EFFORTS
   The parties have engaged in, and are continuing to, engage in settlement discussions.


   3. PENDING MOTIONS
   The parties have the following motions still pending:
   1. Defendant Holland, LP’s Motion to Strike Plaintiff’s Experts Dr. Borzilleri and Mark
      Dennis
   2. Defendant Holland, LP’s Motion to Strike Plaintiff’s Expert Dr. Lebedun
   3. Plaintiff’s Motion in Limine to Exclude Prior Convictions (taken under advisement)


   4. AGREED UPON EXHIBITS


The following exhibits offered by Plaintiff are not objected to and, thus, the parties agree to their
admissibility:
       •    Plaintiff’s Exhibit 4 (Color Drawings of Prime Mover)
       •    Plaintiff’s Exhibit 5 (Contractor Fatality Investigation)
       •    Plaintiff’s Exhibit 6 (WMATA-1000 Train Maintenance Work Instruction)
       •    Plaintiff’s Exhibit 9 (Section 2.12- Specification for Fabrication of Continuous
            Welded Rail (HLP 1214-1219)
       •    Plaintiff’s Exhibit 10 (Employee Policy Handbook)
       •    Plaintiff’s Exhibit 23 (Appendix to Report of Gregory Paulsen (Photographs),
            October 29, 2013
       •    Plaintiff’s Exhibit 48 (Report of Ronal Adler, March 14 2018)
       •    Plaintiff’s Exhibit 49 (Report of Andrew Nieto, CSP, CHST, December 21, 2017)

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         •    Plaintiff’s Exhibit 52 (Report of Nicole Reid Johnson, M.D.)


The following exhibits offered by Holland, LP are not objected to and, thus, the parties agree to
their admissibility: 1


         A. Photograph of WMATA tunnel (Bates Number WMATA 1325)
         B. Photograph of WMATA tunnel (Bate Number WMATA 1290)
         C. Photograph of Rail Joint (Bates Number HLP 00373)
         F. Diagram of PMW01
         G. Photograph of PMW01 (Bates Number HLP00375)
         H. Photograph of PMW01 (Bates Number HLP 00328)
         I. Photograph of PMW01 (Bates Number HLP 00330)
         J. Photograph of PMW01 with Holland Welder Head (HLP 00352)
         K. Photograph of Pettibone Speed Swing (HLP 00332)
         L. Photograph of Pettibone Speed Swing (HLP 00335)
         M. Photograph of Pettibone Speed Swing hook (HLP 00333)
         N. Photograph of Pettibone Speed Swing hook (HLP 00334)
         P. Photograph of Rail Tongs (WMATA 1295)
         Q. Photograph of hydraulic hose connected to PMW01 (WMATA 1303)
         R. Photograph of Rail Finish Grinder
         S. Photograph of finish grinder on rail (WMATA 1300)
         T. Photograph of finish grinder on rail (WMATA 1302)
         U. Photograph of Hydraulic Hose (WMATA 1301)
         V. Photograph of Hot Upset (Bates Number WMATA 1339)
         W. Photograph of rail (HLP 00346)
         X. Photograph of rail (HLP 00344)
         Y. Photograph of rail and tunnel (HLP 00347)
         Z. Photograph of rail and tunnel (HLP 00348)
         AA. Photograph of welder head lamp on PMW01 (HLP 00302)
         MM. Holland Safety Rulebook, April 2006 (Bates Numbers HLP 1561- 1599)
         NN. Holland Safety Rulebook, November 2015 (Bates Numbers HLP 1501-1560)




1
  Defendant Holland, LP, intended to correct an error made in its initial Pretrial Statement in regard to the labeling
of Defendant’s Exhibit O in the Amended Pretrial Statement. However, Holland, LP, made the same error in the
Amended Pretrial Statement. With Plaintiff’s consent, Holland, LP. notes in this Joint Pretrial Status Report that
Plaintiff will not object to Defendant’s Exhibit O (WMATA’s Mobile Operations Shutdown Coordination
Workplan, WMATA 1222-1227) on procedural grounds. Accordingly, Defendant will not submit a Second
Amended Pretrial Statement correcting the error.

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DANIEL J. SMITH, III                            HOLLAND, LP
By Counsel                                      By Counsel

ChasenBoscolo Injury Lawyers                    CARR MALONEY P.C.


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